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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    TIMOTHY ZINDEL, #158377
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Tel: 916-498-5700/Fax 916-498-5710
     timothy_zindel@fd.org
5    916-498-5700/Fax 916-498-5710

6    Requesting Appointment for
     JAIME JIMINEZ
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                      IN THE UNITED STATES DISTRICT COURT
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                    FOR THE EASTERN DISTRICT OF CALIFORNIA
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14   UNITED STATES OF AMERICA,       ) Case No. 2:07-CR-0515 WBS
                                     )
15           Plaintiff,              )
                                     ) REQUEST TO APPOINT COUNSEL FOR
16                         vs.       ) JAIME JIMINEZ; ORDER (proposed)
                                     )
17   JORGE CHAVEZ et al.,            )
                                     ) Judge: Hon. Carolyn K. Delaney
18           Defendants.             )
                                     )
19                                   )

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21
22       Jaime Jiminez respectfully asks that the Court appoint the

23   Office of the Federal Defender to represent him in regard to a

24   motion for early termination of supervised release.         Mr. Jiminez

25   recently contacted the Federal Defender for assistance.

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1        Mr. Jiminez has completed a financial affidavit showing

2    that he qualifies for appointed counsel.       The Federal Defender’s

3    Office respectfully requests appointment to represent him.

4                                     Respectfully submitted,
5                                     HEATHER E. WILLIAMS
                                      Federal Defender
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7    Dated:   November 23, 2015       /s/ T. Zindel
                                      TIMOTHY ZINDEL
8                                     Assistant Federal Defender
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                                    O R D E R
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         IT IS HEREBY ORDERED that the Federal Defender is appointed
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     to represent Mr. Jiminez pursuant to 18 U.S.C. § 3006A.
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     Dated:   November 24, 2015
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16                                       _____________________________________
                                         CAROLYN K. DELANEY
17                                       UNITED STATES MAGISTRATE JUDGE

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